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                                            FEDERAL PUBLIC DEFENDER
                                               NORTHERN DISTRICT OF CALIFORNIA
                                           13TH FLOOR FEDERAL BUILDING - SUITE 1350N
                                                       1301 CLAY STREET
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JODI LINKER                                                                                        Telephone: (510) 637-3500
 Federal Public Defender                                                                                 Fax: (510) 637-3507
JEROME MATTHEWS
 Assistant Federal Public Defender




                                                      June 29, 2022


          The Honorable Donna M. Ryu
          United States Magistrate Judge
          Oakland Courthouse 3rd Floor
          1301 Clay Street
          Oakland, CA 94612
          Attn: Ivy Garcia

                    RE: U.S. v. Alan Camacho, CR 22-083 JSW

          Your Honor:

          This matter is set for a further bond hearing on July 6, 2022. Mr Camacho has informed me that
          he is not contesting detention. Accordingly, I request that the matter be taken off calendar.

          Please let me know if the Court requires any additional information.


                                                               Sincerely,

                                                               JODI LINKER
                                                               Federal Public Defender
                                                               Northern District of California



                                                               JEROME MATTHEWS
                                                               Assistant Federal Public Defender
